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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


GREGORY F. WASHINGTON,

                       Plaintiff,

v.                                                         Case No. 3:20-cv-1400-HES-JBT

OFFICER MOOTS, et al.,

                Defendants.
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                                    ORDER TO SHOW CAUSE

         Plaintiff was previously directed to file a response to Defendants’ Motion for

Summary Judgment (Doc. 37) by July 28, 2022. See Order (Doc. 43). To date, Plaintiff

has failed to comply or request additional time within which to do so. Accordingly, it is

         ORDERED:

         1.     By September 12, 2022, Plaintiff shall SHOW CAUSE why this case should

not be dismissed for his failure to comply with the Court’s Order (Doc. 43) or otherwise

prosecute the case, pursuant to Rule 3.10(a), Local Rules of the United States District

Court for the Middle District of Florida. If Plaintiff no longer wishes to proceed with his

claims, he may file a notice of voluntary dismissal. 1

         2.     Also, by September 12, 2022, Plaintiff shall file a response to Defendants’

Motion for Summary Judgment (Doc. 37).




1   In making his decision, he should consider the statute of limitations.
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       3.     Plaintiff’s failure to timely comply with this Order to Show Cause may result

in the dismissal of this case without further notice.

       DONE AND ORDERED at Jacksonville, Florida, this 8th day of August, 2022.




caw 8/8
c:
Gregory F. Washington, #998455
Counsel of Record




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